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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

SECURITIES AND EXCHANGE                       )
COMMISSION,                                   )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )       Civil Action No. 12-12324-MLW
                                              )
BIOCHEMICS, INC., JOHN J. MASIZ,              )
CRAIG MEDOFF and GREGORY S.                   )
KRONING,                                      )
                                              )
                       Defendants.            )

                 COMMISSION’S RESPONSES TO OPPOSITIONS TO THE
                    MOTION FOR APPOINTMENT OF A RECEIVER

       The Securities and Exchange Commission (“Commission”) hereby responds to: (i) the

Limited Opposition of ADEC Private Equity Investments, LLC to the Commission’s Proposed

Order for Appointment of a Receiver (“Limited Opposition,” Dkt. No. 427); and (ii)

BioChemics’ Opposition to Commission’s Motion for Appointment of a Receiver (“Opposition,”

Dkt. No. 428).

       I.        The Commission’s Response to ADEC

       On July 20, 2018, ADEC filed its Limited Opposition, relying on its concern that the anti-

litigation injunction in the [Proposed] Order Appointing Receiver (Dkt. No. 423-2), “would

prohibit the filing of a bankruptcy petition . . . .” See Limited Opposition, ¶6. To that end, on

July 26, 2018, ADEC filed an involuntary petition of bankruptcy against Inpellis, Inc.

(“Inpellis”) in the United States Bankruptcy Court for the District of Massachusetts. See Dkt No.

429.

       The Commission’s request for appointment of a receiver streamlines the process of

monetizing assets. The result would be a single person to control the available assets and to take
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the necessary steps to liquidate those assets in an effort to satisfy the supplemental judgment

entered against BioChemics on March 25, 2015. See Dkt. No. 123 (the “Judgment”).

Appointing a receiver therefore represents the most efficient and fair method to maximize the

amount of funds available to be returned to investors (and potentially to claimants such as

ADEC). As ADEC is aware, until the assets are reduced to a specific value, there exists no

mechanism to determine how much money will actually be available for distribution. ADEC’s

involuntary bankruptcy petition serves only as a misguided attempt to leverage this efficient and

impartial process, multiply legal proceedings, and increase the timeframe and expenses

involved—all of which can only result in a diminution of actual funds that will be available at

the conclusion of these proceedings to return to harmed investors.

        II.     The Commission’s Response to BioChemics

        On July 21, 2018, BioChemics filed its Opposition. While it is not entirely clear what

BioChemics’ argument is in the first paragraph, the Commission certainly does not believe that

the Shareholder Resolution Trust (“Trust”) should be transferring away any assets (at least

without further clarification or Court approval). Moreover, to the extent that BioChemics cites to

Massachusetts state law, this matter involves an equity receivership in a Commission action

subject to this Court’s authority to act in furtherance of the Judgment through the Court’s broad

equity powers. Thus, Massachusetts General Laws does not govern. See, e.g., Chase Manhattan

Bank, N.A. v. Turabo Shopping Center, Inc., 683 F.2d 25, 26 (1st Cir. 1982) (appointment of

receivers in federal court is controlled by federal law). While some rights have been established

by contractual agreements between parties in this case 1 , this Court’s broad authorization to



1
         See Dkt. Nos. 307-1 (Settlement Agreement between Commission, BioChemics and the Trust); 307-2
(Patent, Trademark and Copyright Security Agreement between Inpellis and the Commission); 307-3 (Patent,
Trademark and Copyright Security Agreement between BioChemics, Inc. and the Commission); 307-4 (Pledge and


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appoint an equity receiver is neither limited nor controlled by state law. See, e.g., SEC v. Quan,

870 F.3d 754, 762 (8th Cir. 2017) (district court has “broad equitable power” and is “not

required to distribute [receivership] assets in accordance with the contractual rights of the

parties”); SEC v. Byers, 609 F.3d 87, 92 (2nd Cir. 2010) (“district courts may appoint receivers

as part of their broad power to remedy violations of federal securities laws”).

        As to the second paragraph of its Opposition, BioChemics claims that it is in the “interest

of all parties to have BioChemics remain in possession of its assets and to continue its efforts . . .

.” Dkt No. 428, ¶2. The Commission has given BioChemics more than ample opportunity to

monetize its assets on its own. Allowing BioChemics to retain possession has proven unfruitful.

Furthermore, BioChemics promised the Court that it would cooperate with the Commission

regarding the steps to be taken to satisfy the judgment:

    •   “In the event the Judgment is not satisfied by the intended date, BioChemics will work

        cooperatively with the Commission regarding the steps necessary for the satisfaction of

        the Judgment from available assets . . . .” Dkt No. 418; and

    •   “BioChemics has stated and intends ‘to work cooperatively with the Commission

        regarding the steps necessary for the satisfaction of the Judgment from available assets . .

        . .’” Dkt No. 421.

BioChemics’ request for more time frustrates its promise to work cooperatively.

        III.    Conclusion

        The Commission has been more than patient with BioChemics. This strategy bore no

fruit. Thus, appointing a receiver provides the fairest forum and most efficient process to

maximize the amounts of funds available to return to investors.


Security Agreement (Stock) between the Shareholder Resolution Trust and the Commission); 307-5 (Subordination
Agreement).


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Dated: July 27, 2018

Respectfully submitted,

SECURITIES AND EXCHANGE COMMISSION,
By its attorneys,

/s/ David H. London
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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on July 27, 2018, a true and correct copy of the foregoing document
was filed through the Court’s CM/ECF system, and accordingly, the document will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                              /s/ David H. London
                                              David H. London




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